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                             Exhibit A
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

   TERRA TERSUS, LLC                            §
                                                §       CASE NO. 6:17-CV-697-RWS-KNM
   v.                                           §       LEAD CASE
                                                §
   XTO ENERGY, INC.                             §
   ____________________________________________________________________________
   TERRA TERSUS, LLC                    §
                                        §     CASE NO. 6:17-CV-698-RWS-KNM
   v.                                   §
                                        §
   NATIONAL OILWELL VARCO, L.P.         §

                             [PROPOSED] E-DISCOVERY ORDER

  The Court ORDERS as follows:

         1.     This Order supplements all other discovery rules and orders. It streamlines

  Electronically Stored Information (“ESI”) production to promote a “just, speedy, and

  inexpensive determination” of this action, as required by Federal Rule of Civil Procedure 1.

  Parties are expected to use reasonable, good faith and proportional efforts to preserve, identify

  and produce relevant information. This includes identifying appropriate limits to discovery,

  including limits on custodians, identification of relevant subject matter, time periods for

  discovery and other parameters to limit and guide preservation and discovery issues.

         2.     This Order may be modified in the Court’s discretion or by agreement of the

  parties. The parties shall jointly submit any proposed modifications within 30 days after the

  Federal Rule of Civil Procedure 16 conference. If the parties cannot resolve their

  disagreements regarding these modifications, the parties shall submit their competing proposals

  and a summary of their dispute.
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         3.       A party’s meaningful compliance with this Order and efforts to promote

  efficiency and reduce costs will be considered in cost-shifting determinations.

         4.       Absent a showing of good cause, general ESI production requests under Federal

  Rules of Civil Procedure 34 and 45, or compliance with a mandatory disclosure requirement of

  this Court, shall not include metadata. However, fields showing the date and time that the

  document was sent and received, as well as the author or sender and a complete list of recipients,

  shall be included in the production if such fields exist.

         5.       Absent agreement of the parties or further order of this Court, the following

  parameters shall apply to ESI production:

         a.       General Document Image Format. ESI shall be produced in single-page Tagged

         Image File Format (“TIFF”) format, in the form in which it is ordinarily maintained

         (“native format”), or in multi-page PDF format. Produced documents shall be named with

         a unique production number followed by the appropriate file extension. Documents

         produced in native format may indicate the confidentiality designation in a corresponding

         TIFF slip sheet or in the filename of the native file. Load files shall be provided to

         indicate the location and unitization of the TIFF or PDF files. If a document is more than

         one page, the unitization of the document and any attachments and/or affixed notes shall

         be maintained as they existed in the original document.

         The load file for ESI documents will include the following fields, to the extent they exist:

              •   Beginning Doc (corresponding to the Bates number)
              •   Ending Doc (corresponding to the Bates number)
              •   Page Count
              •   Author
              •   To
              •   CC
              •   BCC
              •   Subject


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             •   Date and Time Sent
             •   Date and Time Received
             •   Date Created
             •   Date Accessed
             •   Date Modified
             •   Filename
             •   Filepath
             •   File type

        To the extent that e-mail attachments are not immune from discovery as privileged or

        otherwise, all attachments to e-mails will be included in the production.

        b.       Text-Searchable Documents. Documents shall be produced in a text-searchable

        format. To the extent practicable, each individual document based on an electronic file

        should be accompanied by a corresponding text file containing the searchable text for the

        document.

        c.       Footer. Each document image shall contain a footer with a sequentially ascending

        production number.

        d.       Native Files. A party is not required to produce the same ESI in more than one

        format. For good cause, a party that receives a document produced in a format specified

        above may make a reasonable request to have the document reproduced in its native

        format. Upon the showing of good cause, the producing party shall reproduce the

        document in its native format. Wholesale requests to reproduce categories of documents

        in native format shall not constitute good cause.

        e.       No Backup Restoration Required. Absent a showing of good cause, no party

        need restore any form of media upon which backup data is maintained in a party’s normal

        or allowed processes, including but not limited to backup tapes, disks, SAN, and other

        forms of media, to comply with its discovery obligations in the present case. Absent a

        showing of good cause by the requesting party, the parties shall not be required to


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        modify, on a going-forward basis, the procedures used by them in the ordinary course of

        business to back up and archive data; provided, however, that the parties shall preserve

        the non-duplicative discoverable information currently in their possession, custody or

        control.

        f.     Voicemail and Mobile Devices. Absent a showing of good cause, voicemails,

        PDAs, mobile phones, text messages, instant messages and chats are deemed not

        reasonably accessible and need not be collected and preserved.

        g.     Production Media. Documents shall be produced on external hard drives, USB

        drives, CDs, or DVDs; production by FTP rather than on hard media will be acceptable;

        and production by email is acceptable provided that the receiving party's designated

        email address for accepting service of the production is used and the producing party has

        not received any error or return message indicating that the service email was not

        received or sent successfully. Each piece of production media should identify: (1) the

        producing party's name; (2) the production date; and (3) the Bates-number range of the

        materials contained on the production media. The parties may provide encrypted media

        for production.

        h.     Confidentiality Designation. Responsive documents in TIFF or PDF format will

        be stamped with the appropriate confidentiality designations in accordance with the

        Protective Order in this matter. All material not reduced to documentary, tangible, or

        physical form or which cannot be conveniently labeled, shall be designated by the

        producing party by informing the receiving party of the designation in writing.




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         i.       Source Code. To the extent relevant to the Litigation, source code will be made

         available for inspection pursuant to the terms of the Protective Order. Nothing in this

         Order governs source code production.

         j.       Redaction of Information. Redacted documents and redacted portions of

         documents are subject to the parties’ agreement in the Discovery Order regarding

         whether certain documents need to be included in a privilege log. The producing party

         shall retain a copy of the unredacted data within its possession and control and preserve it

         without modification, alteration, or addition to the metadata therewith.

         k.       Other Inaccessible ESI. Absent a showing of good cause by the requesting party,

         the following categories of ESI need not be preserved, searched, or produced.

              •   Deleted, slack, fragmented, or other data only accessible by forensics.

              •   Random access memory (RAM), temporary files, or other ephemeral data that are
                  difficult to preserve without disabling the operating system.

              •   On-line access data such as temporary internet files, history, cache, cookies, and
                  the like.

              •   Data in metadata fields that are frequently updated automatically, such as last
                  opened dates.

              •   Back-up data that are substantially duplicative of data that are more accessible
                  elsewhere.

              •   Server, system or network logs.

              •   Electronic data temporarily stored by laboratory equipment or attached electronic
                  equipment, provided that such data is not ordinarily preserved as part of a
                  laboratory report.

              •   Data remaining from systems no longer in use that is unintelligible on the systems
                  in use.

         6.       General ESI production requests under Federal Rules of Civil Procedure 34 and

  45, or compliance with a mandatory disclosure order of this Court, shall not include e-mail or



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  other forms of electronic correspondence (collectively “e-mail”). The parties’ discovery

  obligations in this case will not include the production of e-mail, except that:

         a.      For specific issues, to the extent a party reasonably believes that e-mail will

         contain relevant, non-duplicative information after considering the documents produced

         from non-e-mail custodial sources, the party may serve e-mail production requests on an

         opposing party that will identify the custodian, search terms, and time frames for that

         specific issue. Prior to any party’s service of such requests, the parties will meet and

         confer in good faith to identify the proper custodians, proper search terms, and proper

         time frames.

         b.      The search terms will be narrowly tailored to specific issues, and a party may

         serve requests with different search terms for different custodians. Indiscriminate terms,

         such as the producing company’s name or its product name, are inappropriate unless

         combined with narrowing search criteria that sufficiently reduce the risk of

         overproduction. A conjunctive or otherwise limiting combination of multiple words or

         phrases (e.g., “computer” and “system”; “computer” /10 “system”; “computer” but not

         “system”) narrows the search and will count as a single search term. A disjunctive

         combination of multiple words or phrases (e.g., “computer” or “system”) broadens the

         search, and thus each word or phrase will count as a separate search term unless the

         words or phrases are variants or synonyms of the same word or phrase. Use of narrowing

         search criteria (e.g., “and,” “but not,” “w/x”) is encouraged to limit the production and

         will be considered when determining whether to shift costs for disproportionate

         discovery.




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         c.      Each requesting party will limit its e-mail production requests to a total of ten (10)

         search terms per custodian. E-mails will be searched without regard to capitalization.

         d.      The number of custodians who may be the object of e-mail production requests

         will be limited to three (3) custodians for each Defendant, and three (3) custodians for the

         Plaintiff. In other words, each Defendant is not required to search the e-mails of more

         than three (3) of its custodians, and the Plaintiff is not required to search the e-mails of

         more than three (3) of its custodians.

         e.      The parties will respond to requests for production of e-mails consistent with

         Federal Rule of Civil Procedure 34(b)(2), except as otherwise provided in this Order.

         f.      The parties may jointly agree to modify the limits on search terms and custodians

         without the Court’s leave.

         g.      Nothing in this Order prevents a party from voluntarily producing the e-mails of

         its own custodians.

         7.      Pursuant to Federal Rule of Evidence 502(d), the inadvertent production of a

  privileged or work product protected ESI is not a waiver in the pending case or in any other federal

  or state proceeding.

         8.      The mere production of ESI in a litigation as part of a mass production shall not

  itself constitute a waiver for any purpose.

         9.      Except as expressly stated, nothing in this Order affects the parties’ discovery

  obligations under the Federal or Local Rules.


  IT IS SO ORDERED.




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